CASE 0:19-cv-01756-ECT Doc. 352 Filed 11/09/22 Pagelof1

AO 450 (Rev. 11/11) Judgment ina Civil Action

UNITED STATES DISTRICT COURT

for the

District of Minnesota

Douglas A. Kelley, in his capacity

as the Trustee of the BMO )
Litigation Trust,
Plaintiff )

)

Vv ) Civil Action No. 19-cv-1756 (WMW)

)

BMO Harris Bank N.A., as )
successor to M&I Marshall and )
Ilsley Bank, )
)

Defendant

JUDGMENT IN A CIVIL ACTION

The Court has ordered that (check one):

The plaintiff Douglas A. Kelley, in his capacity as the Trustee of the BMO Litigation Trust, recover
from the defendant BMO Harris Bank N.A., as successor to M&I Marshall and Ilsley Bank, the amount of five hundred sixty-
three million, seven hundred forty-three thousand, one hundred ten dollars ($563,743,110.00), which does not include
prejudgment interest, post-judgment interest or costs.

(1) The plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)

1 Other:

This action was (check one):

XX Tried by a jury with Judge Wilhelmina M. Wright presiding, and the jury has rendered a verdict.

O Tried by Judge without a jury and the above decision was reached.

CO Decided by Judge on a motion for

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Judge Wilhelmina M. Wright Rigel inal t-
Date: Ut ovewher Uw SSmnevember 9, 2022

